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                                UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF KENTUCKY
                                        LONDON DIVISION

      IN RE

      HUNTER BLANE MARTIN                                                            CASE NO. 18-60270
      MARIA LELITA JAYME-MARTIN

      DEBTORS
                                                     ORDER

              This matter came on for hearing on February 14, 2019, on (1) Creditor Heidi Weatherly’s

       (“Creditor”) Motion requesting that the Court Alter, Amend, or Vacate and reconsider its

       Memorandum Opinion and Order Denying Creditor’s Motion to Dismiss [ECF No. 69], and (2)

       the Motion for Leave to Withdraw as Counsel for Creditor, Hon. Heidi Weatherly, filed by R.

       Aaron Hostettler, Esq. (“Motion to Withdraw”) [ECF No. 71]. The Court having considered

       same and being sufficiently advised,

              It is ORDERED that the Court will take Creditor’s Motion to Alter, Amend, or Vacate

       [ECF No. 69] under submission.

              It is further ORDERED that Mr. Hostettler’s Motion to Withdraw [ECF No. 71] is

       GRANTED. Creditor Weatherly shall have fourteen (14) days from the date of entry of this

       Order within which to obtain new counsel, who must file a notice of appearance on her behalf in

       the record.

              It is further ORDERED that Mr. Hostettler shall serve a copy of this Order upon Creditor

       Weatherly, via regular United States mail, postage prepaid, and shall file a certificate of service as

       required by KYEB LBR 9022-1(b).




__________________________________________________________________________________________
The affixing of this Court's electronic seal below is proof this document has been signed by the Judge and
electronically entered by the Clerk in the official record of this case.



                                                        Signed By:
                                                        Tracey N. Wise
                                                        Bankruptcy Judge
                                                        Dated: Thursday, February 14, 2019
                                                        (tnw)
